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 r                         2.      Factual Stipulations

______ __ _... .... ______ _________yQll!~Ji~t.Jtgrees.rJ:¢t4~:~$.~lt.~;:S1atem~t9f:'Qf;lJ~~e~: t:~4Jy aoda~w:~re.ly·_d~crlb~~___ ~-.. ~~
                    your client'$ actions and involvement jn the offense(s) to which your client is pleading guilty.
                    Please have your client s.ign and return the Statement of Offense as a written proffer of e.vidc;mce,
                  --alongwiththisAgreement - •                 •        --- --- ----     -           --- -- - - -- - -- - - ·_ --

                           3.      Cooperation with Additionai Investigation

                           You.r .cli~nt agr~ tQ allQW law e~orcem.~nt ~~nt.s to review any social mooia acco:un1'$
                           opera.ted. by yoµr cbent for -~tateme~ts and pc,stirtg$ in.and .around January 6, 2021, and conduct an
-- --- -·- - • • -- •--- • iriteiview·-or your client reiaidiiig ilie -events in and ·around Jaiiuaif6~-2021 -piiodo~sentenciiig. •
                           Your client can accomplish this through an in~person meeting with a law erif9rcement. ag~nt to
                           ~llow the law tmforcement agent to·look through social me<lia accoums on your client's phone qr
                   other device.

                           4.      Additional. Charges

                           In consideration of your client's guilty ple.a to the above offense(s),, your client will not be
                   further prosecuted criminally by this Office for the ~nd'1ct:set f9rth in the attached Stat~ent of
                   Offense. The Govemme.n.t will r~quest that the Court distniss the. remaining CQunts of the
                   Information in this case at the tune of sentencing: Your client agrees and acknowledges that the
                   charges to be dismissed at the time of' sentencing were. based in fact                       •
 (                         -After the entry of yollt·client's plea of guilty to th~ offense identifi~ in paragraph 1 above,
                     your client will not be charged with any non~violent criminal offense in violation of Federal or
                     District of Columbia law which was committed within the District of Columbia by your client
                     prior tQ the ex:~tion: of this Agr~ent and about which this Office was made aware by youc
- - -- ---- - - --·--client prior to the execution of this Agreement- However/the United-States expressly reserves its -------- ---- --
                     right to prosecute your client for any crime of violence, as defined in 18 U.S.C. § 16 and/or 22
                     D. C .. Cocie § 45Q1, if in fact your ~li~t CQnunitted or cornmjts ~qch a crime of viqlen~ prior tQ or
                   a&.r-tbe ~~on of this Agr~ent

                                   Sentencing Guidelines Do N.ot Apply

                           Your -client undetstands that the sentence in this case will be determined by the Cowt
                   pursuant to the facto~ ~et forth i1t 18 U.S.C. _§ 3S53(a). Your client further understands that 40
                   tJ.S.C. § 5104(e)(2)(G) is. a class B misdemeanor~ ~ defin~d by 18 U.S.C. § 3559(a)(7).
                   Accordingly> pursuant_to §' 1~1 '. 9 of!fle lJ~tedStates Sentencing Commissi~ Guideli,re$Man1!11l
                   (2018), th~ sentencing guidelllies do not apply to your client's sentencing_   - - •     -    -

                           6.      Reservation of Allocution

                          The Government and your client reserve: the right to describe fully> both orally and in:
                   writin~ to the sentencing judge, the nature and seriousness of your client.'·s misCQnduct, including
                   any m.isconduci: not described in the charges to which your client is l)leading guilty, to inform the

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                                             presentence report writer and the Court of any relevant facts, to dispute any fa.,ctual inaccuracies
                                             tn. the pre$enten~,report, and tQ ro.ntes~any matt~ npt provided for in this .Agreement
-   ---=-···-·-·-- --- ------------- -_-_,.-
                                          ____- -
                                                _ _- _-_ _- _-___-_
                                                                  .-- -- _-__ -_ ,-----
                                                                                      -~ ~--- -- - -- - _-_ ---- .. -__ -_ .-__ -___
                                                                                                                                   -__ ,__-.,-__- ,-_.. -   ,_-_ _-__ -_ ----   --   -- . ., ,_- - - - ,, __ __,_, --- - - - - - - -- - - - - - - - - ·- - - - - ------·-· - ~~ -= -- --- - -
                                                 In addition, if in this· Agreement the parties. _have agreed to recommend or refrain. from
                                          recommending:to the Court a particular resolution of ~y sentencing issue,, th:e parties reserv~ the
                                   -- ---right to full allocution in any-post-sentence litigation --The parties retain the full right of ~locution -
                                        · in connection with any post-sentence motion which may be filed in this matter ,and/or any
                                          proceeding(s) before :the Bureau ,of Prisons. In addition,. your client -acknowledges that: the
                                          Government is not obligated and does. not intend to file any post-sentence downward departure
                                          motion 111 this case·pursuant to Rule 35(b) of the F e.deral Rules of Criminal Pro~ure.,          •



                                                   Yoµr cli~t understands that the sentence in this case will be impQsed in aq;:or.dance with
                                         ·•18 U.S~C. § 3:553(a). Yow;·client further understands that the sentence to be imposed is a matter
                                           solely within the discretion of the Court Your client acknowledges that the Court is not obligated
                                           to fo1Iow any recommendation of the Government at the' time of sentencing. Your client
                                           understands that: the Govemmenf s recommendation .is not binding_on the Court.
                                         /

                                                   Your client acknowledges that your client's entry of a guilty plea to the·charged offense(~)
                                           authorizes the Collrt tp impose any st.mtence,.qp to and includnig the statutory ~mUDJ. s~~ce.
                                           l'he Govenunent cannot, and dpes;n.Qt, m.ake any proniise:·or repr~entation as to what s·entence
                                           your client will receive. Moreover, it i's Wlderstood'that your clientwill have no right to withdraw
       (                                   your clienf s plea of guilty should the Coµrt impose a .sentence that: does ,not follow the
                                          ·G ov~ent' ~ ~enten~ing recommendation. Tue Govenunent and yoQr cljent will be boJJnd by
                                      .. -this Agreement, regardless of the sentence imposed by the Court. Any effort by your clit;nt to
                                           withdraw the guilty plea because of the length of the sentence shall constitute a breach of this.
                                         .Agreem¢nt..,..

                                                              8·.              Conditions of Release

                                                       You.r client .a~knowledges that, although the Gov.enun~ will not s®k a ch~ge. in yoµr-
                                             c.lient' s release conditions pending s:enu.mcing> the final .decision regarding your client's bond
                                             status or detention will be made by the Court at the, time of your client's plea of guilty. The
                                             Goveunnent may mQve tp change .your c:lient's conditions of rel~e, including requesting that
                                             your client be detain~ pending sentencing, ifyour client engages in further criminal conduct pripr
                                             to sentencing or 'i f the Government obtains.infolination that it did not possess at the time of your
                                             client" s pltea of gwlty and that is relevant to whether ypur client is likely to flee or pose a danger
                                             to any person or the comnu.n~ity. Your client also agrees that any violation of'your client's release
                                             conditions or any misconduct by your client may result in the Government filing an-~ ~ motion
                                             with th~ Courtreq~ting that~ bench warrant beissuedforyout client's arrest and thatyour client
                                             be detained without bond while pending se.ntencing in your client's case.
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                                                  9.               Waivers



                                           Your client agrees that; should the conviction fallowing your client's plea of guilty
                           · - - pursuant to this·-Agreement ·be vacated for any reason;, any prosecution, -based-on the:conduct s-i:,t -. . -
                                  forth in the attached Statement of Offense, that is not timerbarred by the applicabl~-statute of
                                  limitations Qll the date··o f the signing of this Agreement {including_ any counts that the Government
                                 .has agreed not to prosecute or to dismiss at sentencing: pursuant to this Agreement) may be·
                                  commenced or reinstated against your client, notwithstanding_the expiration of the. statute .o f
                                  liniimtions.between the signing of this Agreement andthe comniencement or reinstatem.ent of such
                                ~piosecuiiciii.-- It-·is ·the ·interit~of this-·Aweerii~Ffo-waiv~-a11 -·clefens~ based ·on: ·the:·s.1atuti -of --
                                  Iimitationswith respect to.any prosecution of conduct.set forth in the attached Statement of'Offen.se
                                  that is not time-hatred on the date that this Agreement is signed.

                                                                   B.   Trial Rights·

                    Your client understands ·that by pleading guilty in this case yout client agrees to waive
          -certain rights afforded by the Constitution of the United States andlor by statute· or rule. Your
           client agrees to forego the r:ightto any-further discovery or disclosures· of"inform.ation not already
           provided-at the time of° the· entry of your client,s guilty piea Your client also agrees to waive,
           among qther rights, the right to pl~d npt guilty ~d the. right to a trial If there w~e a tri~ you.x
                                                                                                 1

           client would have the right to.be represented by counsel, to confront and cross~e witness~
    (      against your client, to challenge the.admissibility of evidence offered against your client, to compel
           witnesses to. appea.r for the purpose of testifying and presenting 9ther eviden<» on your client's
           behalf: and to choose whether to.testify~ If there were a trial and your client chose not to testify at
           that tria~ your client's failure to testify could not. be held, against your client Your client would
           be· presumed. innocent until proven guilty~ and that the burden would be on the United States to .
- - - - --prove-yoor-clienf.s guilt beyond a reasonable doubt -If your .client were found guilty·after a, trial,
           your client·would have the right to appeal your client's conviction. Your client understands that
           the Fifth Amendment to the Constitution of the United States protects your dient from the use of
           self-incriminating sta~Emts in a criminal prosecution, By ent~ng a plea of gµilty, -your cli~nt
           Imowingly 311d volumarily Wcri.v~ or gives up your cli~nt'·s _tight against s~lf-in~ti®,
                                                                                        .         \
                                            YQQr f;lient acknowledges discussing with you Rule 11 (f) ofthe Federal Ruies of Criminal
                                    Pro~l,11"~ and Rule-4 l 0 of the Federal Rules <;>fEvidence, which ordinarily limit the admissibility
                                    of statements made by a defendant in the course of plea discussions or plea prQceedings if a gtiilt.Y
                                    plea is later withdrawn. Your client knowingly and voluntarily waives the rights that arise under
                                    these rules in. the event yo1.ll'. client withdraws your client's. guilty plea or withdraws from this
                                    Agreement -after signing it                                •                      -                  -

                                                  Yow.- client also agroo..s to waive all constitutional and statutory rights to a speedy sentence
                                    and agrees that the plea ofguilty p~uant tp tbi~ Agreem~t will be entered at a time decided upon
                                    by- the parties with the concurrence of the Court Your client _u nders~ck. that the date for
                                    sentencing will be set by the Court

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                                                            C.          App~al Right~

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                                                              ~ive, !!1.§9.i~-~~~s-~g_YVWY~fi$,-pe@it_t~byJ~w,__    fu~ righ~·tc,._ap~ __--------- - -- ---=- =-=--::-
                             . the convi~<m i11 this cas~ on ~Y basis, incl:uding but :o.ot limited tQ claim(s) tlu.it (l) th~ statute(s)
                               tp which yo;u{ client. is pleading guilty is unconstitutiQnaL and (2) the admitted. conduct does not
                               fall within the scope, of the statute(s)~ -Your·client understands,that federal law,, specifically 18
                            - U.S. C., § 3742, affords ·defendants the right. to appeal their sentences. fu certain circumstances. -
                               Your client also agrees to. waive the right to-appeal the s~nten~ in this case, including but not
                               limited to any term of..imp~Qnment, .fine, forfeiture, award. ofrestitntion,. authority ofthe Court
                               to set cottdi:tfons of release,.an.ct' the mannet in which the sentence was detemiin~ .except to,the
                               extent the Court sentences your ciient above the statuto.ry maxmium determined by the Court. In
  --· . --- - •• -·-·--- - --agreeing to thiswaiver~--your--clierifis-~warethafyoiir clientrs.-sentencehas-·yet-~pe detemim.ed·- --··· - ---- --·
                               by the. Court .Realizing the uncertainty in. ~timating what sentence the Court ultimately will
                               impos~ your client knowingly and ·wHlingly waives your client's right to appeal.the sentence:,c to
                               the ex:tent. noted above=1 in ·e xc~ge Jpr •the CQnces$iOI1S m.ade •by the Govtm1ment in this
                               Agreement. N~~ding the abPve ag1;eement to w;uve the right to-appeal the ce>nvid.:ion and
                               s·e nten~ your client retains the right to appeal on the basis of ineffective assistance of CQunseL
                               but not to raise on appeal other issues reg;arding the conviction ot sentence.

                                                           t>.          Collateral Attack

                                        Your client also waives any right to challenge the ·conviction entered or sentence tniposed
                                under this Agreement or otherwis~ att~pt to ,mQdify or change th_e sentence or- the,manner in;
       (                        which it was detennined in any collateral attack,, irtcluding, but not limited to1 a motion ·brought
                                und~ 28-U.S. C, § 2255 or Federal Rule of Civil Pr~u,re 60(b), e,c~pt to the. ~ent s"Qch a
                                motion is based on newly discovered evidence or on a claim that your client r~ived ineffective·
                                assis1ance·of counsel.                                      •

  - - - - · - - -·       -- - -                         --E.----Hearings-by-Video-Teleconferenc~ ~d/or -Td~onfe~ce-- --------------- - - -

                                       Your client agrees to cons~ Uilder the CARES Act, Section 15002(b)(4) and otherwise,
                               to hold any·proc~edin~ in this matter .... specifically including but not limited to presentment, initial
                               appearance, plea hearing, and. sentencing - by video teleCQnference and/or by teleconference and
                               to waive· any rights-to. demand a.rt ih.-petson/in-Court hearing-. Your client further- agrees to not
                               challenge or contest -any tindjngs by thee Colll't that it may properly proceed by vid~
                               teleconferencing and/or telephone conferencing in this case becausE; due tQ the COVJD-19
                               pandemic, an in..person/in-Court hearing cannot -~ co;ndu~oo i:n person, with<>ut s~~~ly
                               j~p~dizing public h~th and;safety and that further there are specific reasons in this case that
                               any such hearing, including a plea or·set;itencing,hearing~ cann9t be further delayed without serious
                               harm to the interests ofjustice.

                                              l Q.          Use of Self~Incriminating Information

                                       The GQverrunent and yo'1r client agree, that the Government will be· free to use against
                                your client for any purpose at the. s~tencing in .this· case or in any ..felated criminal or civil
                                proceedings, any self-;incriminating information prc)Vicied by your client pursuant to this
   -   -~ - - -   - - -- -·-· --- - ·-· -· - - · - - - -- - --   - --------·- - - --   -   -- - -   - --   -   ·· - --- - - - -- · · - · - -· ··--···


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(             Agreement or during th~ CQurse of debrie.fin.gs: ox.iducted in anticipation of this Agreement,
              regardless of wheth~ those debrienngs were previously covered by an ''off the record,, agreement
    ·- -----· by_the parties. -- _- --.. -- ----··-·· -----·--- ·----- -----·- . .... · --- --··--·-··•-------···~---· - ----. --· ---·--·· -·-·· --·- --·------- -- ---.. ·-· -·---~--- --
                         11.        Restitution

                      Your·client acknowledges that the-riotthat-occurred on January 6; 2021, caused, as of April
              5, 202Z approximately $2,734,783 in damage to the United States Capitol. Your client agrees as
              part of the plea in this matter to pay restitution. to,the Architect- of the Capitol in.·the amount of
              $500..

       •-- • --- --•-•·• -··-Payments of resiitution~shall -he ·made~to ·tlie-tteik of the·cotirt.. 1n·orcter to-r~dtitate ihe-•
               collection of financial obligations to be imposedin connection with this,pros~tion, your client
              ·agrees to disclose fully all assets in which your client has any interest or over which your -client
               exercises control,. directly or indirectly, including those held by a spouse, nolllliiee or -other third
               party. Your client agrees to suomit a completed fnumcial staiem~nt •on a ·$tancb.ird fin.~ciaJ
               disclosure fonn which has been provided to you with this Agreement: to the Financial Litigation .
               Unit of'-the Umted.States Attorney's Office, as it directs. If you do.not receive the disclosure form,
               your client agrees to request one from usadc.ecffiu@usadoj.gov~ Your client will complete and
               electronically provide:the standard financial disclosure form to usadc.ecfflu@usadoj.gov 30 days
               prior to your clienf·s s·entencing. Your client agrees to be. contacted by the Financial Litigation
               Unit of the United States Attorney's Office; through ddense coonsel to complete a financial
               statement. Upon review~ if there are any fotlow.;up qu~tions~ your client agrees to cooperare. with
               the. Financial Litigation Unit Your di~t promis~ that the financial s1atement and. disclosures
               will be complet~ accurate and truthful,.and understands that any willful falsehood on the·financial
               state,ment could be prosecuted as a separate crime punishable under 18 U.S.C § 1001~ which
               carries a11 add#ional five years' incarceration and a fine~

           ---------¥.om-client-expressly -authorizes -the -United Stites--Attom~.?s Office -to obtain a credit-- - ----- --- -
              report on your client in order to e~uate your clienf s ability to·sati·sfy any financial Qbligations
              imposed by- the Court or ·agreed to herein.

                     •Your client undetstands.and agrees that the restitution or tmes imposed. by the Cbutt will
              be due and payable immediately and subject to immediate enforcement by the United States. If
              the Court imposes a schedule of payments, your dient understands that the schedule of payments
              is merely a minimum schedule of payments and will not be the only method, nor a limitation on
              the:methods, available to the United States to ,enforce the criminal judgm~ including without
              limitation by· administrative offset. If your client is sentenced to a term of imprisonment by the
              Court, yc:'.>ur client agrees to participate irt the Bureau of Prisons; .Inmate Financial Responsibility
              Program, regardless of whether the Court spec.ifically impose$ a schedule of payments.

                      Your client certifies that your client bas made no transfer of assets in contemplation of this
               prosecution for the purpose of evading or defeating. financial obligations that are created by this
               Agr~ement and/or that may be imposed by the Court In addition, your client promi~ to make
               no such transfers in th~ future until your client has fulfilled the financial obligations under this
               Agreement
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                              12.       Breach of Agreement

                            Your client understands and agrees that, if after entering this Agr:~ent, :your client fails
                    specifically to. perform .o r to fulfill c.ompletely each a~d every one of ypur cli~fs obligations
       --   - -    -under this Agreement, or engages in.any crirniIW. activity pripr to sentencing, your client will have --··
                   -br,eached this .Agreenient In the event of such a breach: (a) the Government will be free from its -
                    obligations under this Agreement; (b) your client will not.have the· right to. withdraw the guilty
                    plea; (c) yow dient will be fully sµbj:e.ct to criminal pi::~ecutio.n for any o.thf$ crim~., including
                    • ••e..fJ"ury•and
                    ,P              . . ·obstruction                ... ) .and
                                                           . J;ustice·
                                          . . . . . ... . of                    ,~ the. Government
                                                                             .. /A\     .... . . . . . will
                                                                                                       . .. . .. be £tee .to-use
                                                                                                                             .   ••• ainst y.our clien+..,.
                                                                                                                                 ag
                              directly and indirectly~ in any criminal ot civil ptocee&ng, a1i.statements made by your cl1¢nt and
•• • -·-- -•- •• •••• --••--- "any ·or-ihe·1nfomiatfon.or-materials-pi:9V1dea by yourcITeii~ mdudfug:siicli stiteiiien~ hiforinatfon-- -••• •-·-- -• •
                    and ~~ial;s. -provided pur:suant to this Agreement er during the course of .any debriefings;
                    conducted in anticipation of, or after entry of, this Agreement, whether or not the debriefings were
                    previously characterized as "off;..the-rec.ord" debriefings:, and including your client"s statement$.;
                    made during _proceedings before the Court pursuant tQ Rule 11 of the Fedenil R.:ules Qf Crim.inal
                    Pr.o~ure.

                             Your·.clierit unci~stands and.agrees thatthe:GovernmentshaU be:requir.ed to.:prove a.breach.
                    of. tbj$ A.gr~~ OPly by- a prePQnderanc;.e of the evidence, ex;cept where such breach .is·based on
                    a vfolation of federal, state, or local crimmal law, which the Government need prove oitly by
                    probable cause in order to establish.a breach of this Agreement

                            Nothing in this Agreement shall be construed.to permit your client to commit .perjury, to
                    make false statements or declarations, to obstruct justic~:Orto-ptotectyour client from prosecution
                    for any crimes m;,t included within this .Agreement or committed by your cfamt after-the-e'(~ion
                    of thfa Agreement Your client understands.and agrees that the Government reserves the right to
                    prosecute your client for any .such offenses. Yout client furtherunderstutds that any perjury~ false
- --   - ---- -·- - -statements or declarati011$,·or obstruction ofjustice·relating-to. y9ur client's·obligations ll]Jder this-- ·                  0




                     Agreement shall constitute a br~ch of this Agreement In.the event of s:uch a breach, yo:ur client
                     will not be allowed to.withdraw·your client's guilty plea.

                              13.      • Complete Agreement

                           No agreements, promises? understandings, or representations have beert·made by the parties
                    or their counsel' other than those· contained in writing herein, nQr will any such agreements,,
                    promises·, understandings, or repr~entations be made unless committed to writing and signed by
                    your diert~ defense counsel, and an Assistant United States Attorney for the District of Columbia

                             Your clie11t fQrther w;iders.t,ands that this Agr.eement is bhiding only upo11 the Criminal and
                    ·superior Court Divisions. of the United States Attorney's· Office fot·the District ofCofl11l1bia. this
                     Agreement does not bind the Civil Division of this Office or any other United States Attornef's
                     Office, AQt (IQ~ .i t bind ~y oth~ state, local, or fecieral pr~~tor~ It also does not bar or-
                     compromise any civil,. tax, or administrative claim pe.nding or that may be ma..de against your client
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                                                                     mJerendant:




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